           Case 2:06-cr-00038-RSM              Document 294    Filed 01/19/07      Page 1 of 1



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 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA,                        )
                                                       )
 8                                Plaintiff,           )
 9                         vs.                         )
                                                       )               CR06-38 RSM
10
      SUKHVEER SANDHU,                                 )
11                                                     )
                                  Defendant.           )             MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
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15
            The initial bond revocation hearing, originally scheduled for Tuesday, January 16, 2007, is
16
     hereby rescheduled to Tuesday, February 6, 2007 at 11:30am. The hearing will be held in
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     Courtroom 12A, United States Courthouse, Seattle, Washington.
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23                                Dated this 19th day of January , 2007
24

25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
